                      IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF ALASKA



    DION K. HUMPHREY

                        Plaintiff,
                v.

    RENEE STRAUBE, et al.                       Case No. 3:22-cv-00009-SLG

                        Defendants.


     ORDER ON MOTION FOR ATTORNEY’S FEES AND MOTION TO AMEND
                         FINAL JUDGMENT

         Before the Court are two pending motions filed by Defendants North Star

Hospital and Juliette Rosado (collectively, “North Star Defendants”). At Docket 84

is North Star Defendants’ Motion for Attorney’s Fees, and at Docket 86 is North

Star Defendants’ Motion to Amend Final Judgment.1 Plaintiff Dion K. Humphrey

did not file a response to either motion. Oral argument was not requested and was

not necessary to the Court's determination of either motion.

         I.     Motion for Attorney’s Fees

         In his Second Amended Complaint, Mr. Humphrey alleged claims against

North Star Defendants pursuant to 42 U.S.C. § 1983.2 Mr. Humphrey also

contended that the defendants violated 18 U.S.C. § 242, which is a criminal statute


1
 North Star Defendants filed a Bill of Costs related to the Motion to Amend Final Judgment at
Docket 87.
2
    Docket 44 at 3; see Docket 59 at 18–26.




         Case 3:22-cv-00009-SLG         Document 88    Filed 04/09/25    Page 1 of 4
and does not provide for an award of attorney’s fees to the prevailing party.

Accordingly, the Court addresses attorney’s fees in the context of a § 1983 action.3

          42 U.S.C § 1988 provides that “[i]n any action or proceeding to enforce a

provision of section[ ] . . . 1983 . . . of this title, . . . the court, in its discretion, may

allow the prevailing party . . . a reasonable attorney’s fee as part of the costs.”

However, “[a] prevailing defendant in a § 1983 action is entitled to an award of

attorney’s fees under § 1988 only when the plaintiff’s action is ‘frivolous,

unreasonable, or without foundation.’”4

          In the case of pro se plaintiffs, “[c]ourts should be cautious when considering

an award to a prevailing defendant where the lawsuit was initiated by a party with

limited financial resources or one who is appearing pro se.”5 “In addition, pro se

plaintiffs cannot simply be assumed to have the same ability as a plaintiff

represented by counsel to recognize the objective merit (or lack of merit) of a

claim.”6


3
  The North Star Defendants assert that District of Alaska Local Civil Rules direct a prevailing
party to follow Alaska Rule of Civil Procedure 82 for purposes of awarding costs and fees. Docket
84 at 2. This is incorrect. Alaska Local Civil Rule 54.2, which governs motions for attorney’s fees,
directs parties to “set forth the authority for the award, whether a federal statue, Alaska Rule of
Civil Procedure 82, a contractual provision, or other grounds.” Here, the relevant authority for the
award is 42 U.S.C. § 1988.
4
 Citizens for Free Speech, LLC, 953 F.3d 655, 658 (9th Cir. 2020) (quoting Tutor-Saliba Corp. v.
City of Hailey, 452 F.3d 1055, 1060 (9th Cir. 2006)). Having secured dismissal, North Star
Defendants are prevailing parties for the purposes of § 1988.
5
  Wal-Mart Stores, Inc. v. City of Turlock, 483 F. Supp. 2d 1023, 1028 (E.D. Ca. 2007) (citing Miller
v. Los Angeles Cnty. Bd. Of Educ., 827 F.2d 617, 619 (9th Cir.1987)).
6
    Miller, 827 F.2d at 620 (citation omitted).


Case No. 3:22-cv-00009-SLG, Humphrey v. Straube
Order on Motion for Attorney’s Fees and Motion to Amend Final Judgment
Page 2 of 4
          Case 3:22-cv-00009-SLG            Document 88    Filed 04/09/25      Page 2 of 4
         Mr. Humphrey’s claims against the North Star Defendants—which he

litigated pro se—were not so frivolous, unreasonable, or without foundation to such

an extent that would warrant the grant of attorney’s fees pursuant to Section 1988.

While the Court ultimately dismissed Mr. Humphrey’s § 1983 claims against the

North Star Defendants on the basis that North Star Hospital and Ms. Rosado are

not state actors, this conclusion does not render Mr. Humphrey’s case per se

frivolous, unreasonable, or without foundation.7 Mr. Humphrey’s action as a whole

was not entirely groundless; Mr. Humphrey asserted a claim based on a clearly

established constitutional right to familial association,8 and he articulated theories

as to why North Star Defendants may be liable.9 The Court therefore finds that

Plaintiff’s claims against North Star were not “frivolous, unreasonable, or without

foundation” so as to warrant an award of attorney’s fees to North Star Hospital and

Ms. Rosado.

         Accordingly, North Star Hospital and Juliette Rosado’s Motion for Attorney’s

Fees is DENIED.




7
  See Docket 59 at 21–26; Christiansburg Garment Co. v. Equal Emp. Opportunity Comm’n, 434
U.S. 412, 421–22 (1978) (“[I]t is important that a district court resist the understandable temptation
to engage in post hoc reasoning by concluding that, because a plaintiff did not ultimately prevail,
his action must have been unreasonable or without foundation.”)
8
    Docket 59 at 13–14.
9
 Mr. Humphrey appeared to assert that Ms. Rosado took “joint action” with Defendant Renee
Straube, a state actor, and that North Star Hospital could be held liable as Ms. Rosado’s employer.
Docket 59 at 21–22.


Case No. 3:22-cv-00009-SLG, Humphrey v. Straube
Order on Motion for Attorney’s Fees and Motion to Amend Final Judgment
Page 3 of 4
         Case 3:22-cv-00009-SLG          Document 88        Filed 04/09/25      Page 3 of 4
         II.      Motion to Amend Final Judgment

         North Star Defendants separately move to amend the final judgment to

reflect awards of attorney’s fees and costs.10

         Federl Rule of Civil Procedure 54(d)(1) provides that, absent other authority,

costs other than attorney’s fees “should be allowed to the prevailing party.” Local

Civil Rule 54.1 provides that a bill of costs “must be filed and served no later than

14 days after entry of judgment or an applicable order.” Bills of costs are reviewed

and decided by the Clerk of Court.11 When costs are awarded, the judgment will

be amended to include the costs. No separate motion to amend the final judgment

is required.

         Accordingly, as to an award of costs, the motion to amend the final judgment

is DENIED without prejudice as to the Clerk’s issuance of an amended judgment

following consideration of the North Star Defendants’ Bill of Costs. As to an award

of attorney’s fees, the motion to amend the judgment is DENIED consistent with

the Court’s decision on North Star Defendants’ Motion for Attorney’s Fees.

         DATED this 8th day of April 2025, at Anchorage, Alaska.

                                                  /s/ Sharon L. Gleason
                                                  UNITED STATES DISTRICT JUDGE




10
     Docket 86.
11
  See Rule 54(d)(1), Federal Rules of Civil Procedure. A party may seek review of the clerk’s
action won motion served within 7 days of the clerk’s determination.


Case No. 3:22-cv-00009-SLG, Humphrey v. Straube
Order on Motion for Attorney’s Fees and Motion to Amend Final Judgment
Page 4 of 4
         Case 3:22-cv-00009-SLG      Document 88       Filed 04/09/25    Page 4 of 4
